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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 GENERAL ACCESS SOLUTIONS, LTD.,

                        Plaintiff,
                                                                Case No. 2:20-cv-00007-RWS
         v.
                                                                JURY TRIAL DEMANDED
 SPRINT SPECTRUM LLC, SPRINTCOM, INC.,
 and ASSURANCE WIRELESS USA, L.P.

                        Defendants.




                              ORDER GRANTING
         JOINT NOTICE OF SETTLEMENT AND MOTION TO STAY DEADLINES


       On this date the Court considered the Joint Motion to Stay All Deadlines and Notice of Settlement

between Plaintiff General Access Solutions, Ltd.’s (“General Access”) and Defendants Sprint

Spectrum LLC, SprintCom, Inc., and Assurance Wireless USA, L.P.’s (collectively “Sprint”)(together the

“Parties”)
       .   (Dkt. No. 371). Based on the motion, the grounds set forth therein, and the agreement of

the parties to the motion, the Court finds that good cause has been established and the Joint Motion to

Stay should be GRANTED.

       It is therefore ORDERED that all proceedings in this case between General Access and

Sprint, including all pending deadlines between the Parties, are stayed until September 30, 2021.

        The Pretrial Conference currently scheduled for Monday, August 16, 2021 is cancelled.


        So ORDERED and SIGNED this 14th day of August, 2021.




                                                     ____________________________________
                                                     ROBERT W. SCHROEDER III
                                                     UNITED STATES DISTRICT JUDGE
